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                                                                       oc^ ^:
             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA /^^
                     ATLANTA DIVISION


 Brett Walker                                          Civil Action No.
                                                           l:20-cv-498-JPB-RGV
       V.

                                                       MOTION TO DISMISS
 SUPERIOR PAYMENT
 SOLUTIONS etal,



      COMES NOW, Plaintiff Brett Walker ("Walker"), and responds in accordance

with the parties' settlement, mentioned in Docket No. 30. Walker respectfully moves


this Court to dismiss the Second Amended Complaint, and any other present clauns,


agamst all Defendants, with prejudice.




Dated: October 26,2020                     /'Respectfully submitted,




                                             Brett Walker, Plaintiff
